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1                                                             The Honorable Thomas S. Zilly

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7                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
8                                    AT SEATTLE

9    BAO XUYEN LE, as Personal Representative
     of the Estate of TOMMY LE; HOAI “SUNNY”
10
     LE; and DIEU HO,                                     No. 2:18-CV-00055-TSZ
11
                                          Plaintiffs,
12
                  vs.                                      STIPULATION AND ORDER OF
13                                                         DISMISSAL OF DEFENDANT
     REVEREND DR. MARTIN LUTHER KING                       DEPUTY SHERIFF CESAR
14   JR. COUNTY; and KING COUNTY DEPUTY                    MOLINA ONLY
     SHERIFF CESAR MOLINA,
15
                                       Defendants.
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17
                                         STIPULATION
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19         IT IS HEREBY STIPULATED between the plaintiffs and defendants, parties to

20   the above-entitled action, that the same be dismissed with prejudice as to defendant

21   KING COUNTY DEPUTY SHERIFF CESAR MOLINA only, without costs or attorney’s

22   fees. King County remains as named defendant in this lawsuit.

23


     STIPULATION AND ORDER OF DISMISSAL                          Daniel T. Satterberg, Prosecuting Attorney
     OF DEFENDANT DEPUTY SHERIFF CESAR                           CIVIL DIVISION, Litigation Section
                                                                 900 King County Administration Building
     MOLINA ONLY (2:18-cv-00055-TSZ) - 1                         500 Fourth Avenue
                                                                 Seattle, Washington 98104
                                                                 (206) 296-0430 Fax (206) 296-8819
             Case 2:18-cv-00055-TSZ Document 297 Filed 03/23/21 Page 2 of 3




1    DATED this 22nd day of March, 2021 at Seattle, Washington.

2
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                                         Gosselin Law Office, PLLC
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                                         Jeffrey M. Campiche, WSBA#7952
8                                        CAMPICHE ARNOLD PLLC
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13                                       By: /s Daniel L. Kinerk
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14                                       Carla Carlstrom, WSBA #27521
                                         Senior Deputy Prosecuting Attorneys
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                                                  carla.carlstrom@kingcounty.gov
18

19   //

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     STIPULATION AND ORDER OF DISMISSAL                           Daniel T. Satterberg, Prosecuting Attorney
     OF DEFENDANT DEPUTY SHERIFF CESAR                            CIVIL DIVISION, Litigation Section
                                                                  900 King County Administration Building
     MOLINA ONLY (2:18-cv-00055-TSZ) - 2                          500 Fourth Avenue
                                                                  Seattle, Washington 98104
                                                                  (206) 296-0430 Fax (206) 296-8819
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1
                                               ORDER
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            THIS MATTER having come on regularly for hearing upon the foregoing
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     stipulation of the parties hereto, and the Court being fully advised in the premises, now,
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5    therefore, it is hereby, ORDERED, ADJUDGED and DECREED that Defendant King

6    County Deputy Sheriff Cesar Molina is hereby DISMISSED WITH PREJUDICE from

7    this matter, without costs or attorney’s fees.

8           DONE IN OPEN COURT this ____ day of __________, 2021.

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10                                             _______________________________
                                               The Honorable Thomas Samuel Zilly
11
                                               Senior United States District Judge
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     STIPULATION AND ORDER OF DISMISSAL                           Daniel T. Satterberg, Prosecuting Attorney
     OF DEFENDANT DEPUTY SHERIFF CESAR                            CIVIL DIVISION, Litigation Section
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     MOLINA ONLY (2:18-cv-00055-TSZ) - 3                          500 Fourth Avenue
                                                                  Seattle, Washington 98104
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